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Attorney Registration and Disciplinary Commission
of the
Supreme Court of Illinois
www.tarde.org

OE A ke nes 3161 West White Oaks Drive
ie ‘Suite 301
Chicago, IL 60601-6219 di Zen ien a a
2) 565-2 5 oe atte
(312) 565-2600 (800) 826-8625 fe nine

Fax (312) 565-2320

Chicago
12/8/2023

Re: Christian Todd Kemnitz
Attorney No. 6237427

To Whom It May Concern:

The records of the Clerk of the Supreme Court of Illinois and this office reflect that
Christian Todd Kemnitz was admitted to practice law in Illinois on 11/7/1996: is currently
registered on the master roll of attorneys entitled to practice law in this state; has never been
disciplined and is in good standing.

Very truly yours,
Lea §. Gutierrez
Administrator

ZL.
By:

Andrew Oliva
Registrar

